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                     UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.1.1.2
                                Eastern Division

Bishoy Abo−Saif
                                    Plaintiff,
v.                                                      Case No.: 1:16−cv−02727
                                                        Honorable John J. Tharp Jr.
John Marshall Law School
                                    Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, October 13, 2017:


         MINUTE entry before the Honorable John J. Tharp, Jr:Upon receipt of the parties'
joint stipulation of dismissal pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), this case is
dismissed without prejudice, with leave to reinstate on or before May 14, 2018. In the
event a motion to reinstate is not filed by May 14, 2018, the dismissal shall thereafter be
with prejudice. Mailed notice(air, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
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